                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
                           GREEN BAY DIVISION
__________________________________________________________________________

APPLETON PAPERS, INC., and
NCR CORPORATION,

                                    Plaintiffs,
                                                                 Case No. 08-C-0016
v.

GEORGE A WHITING PAPER COMPANY
and P.H. Glatfelter Company,

                             Defendants.
__________________________________________________________________________

                        CERTIFICATE OF SERVICE
__________________________________________________________________________

       I hereby certify that on February 26, 2008, George A. Whiting Paper Company’s

Notice of Appearance and Certificate of Interest were electronically filed with the Clerk of

Court using the ECF system.

       The ECF system will send notification of the filing to:

              Linda Doyle, Esq.
              McDermott Will & Emery LLP
              227 West Monroe Street
              Chicago, IL 60606

              Angela Tyczkowski, Esq.
              Appleton Papers, Inc.
              825 East Wisconsin Avenue
              Appleton, WI 54911

              J. Andrew Schlickman, Esq.
              Sidley Austin LLP
              One South Dearborn Street
              Chicago, IL 60603




      Case 2:08-cv-00016-WCG          Filed 02/26/08     Page 1 of 2   Document 44
      Evan B. Westerfield, Esq.
      Sidley Austin LLP
      One South Dearborn Street
      Chicago, IL 60603

      Joan Radovich, Esq.
      Sidley Austin LLP
      One South Dearborn Street
      Chicago, IL 60603

      J. Rick Gass, Esq.
      Gass Weber Mullins LLC
      309 North Water Street

      David G. Mandelbaum, Esq.
      Ballard Spahr Andrews & Ingersoll, LLP
      1735 Market Street, 51st Floor
      Philadelphia, PA 19103

Dated: February 26, 2008.

                            /s/ Scott B. Fleming
                            State Bar No. 1016135
                            Weiss Berzowski Brady LLP
                            Attorneys for the Defendant, George A. Whiting Paper
                                    Company
                            700 North Water Street Suite 1400
                            Milwaukee, WI 53202
                            Telephone: (414)276-5800
                            Fax: (414)276-0458
                            E-mail: sbf@wbb-law.com




                                     2
Case 2:08-cv-00016-WCG        Filed 02/26/08   Page 2 of 2    Document 44
